    Case 19-26704-JNP Doc 36 Filed 10/21/20 Entered 10/21/20 10:47:13                          Desc Main
                             Document
UNITED STATES BANKRUPTCY COURT            Page 1 of 2
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
MORTON & CRAIG, LLC
110 Marter Avenue, Suite 301
Moorestown, NJ 08057 (856)866-0100                                       Order Filed on October 21, 2020
Attorney for : American Honda Finance Corporation                        by Clerk
Our File No.: 51870                                                      U.S. Bankruptcy Court
                                                                         District of New Jersey
JM-5630


In Re:                                                   Case No.:             19-26704
                                                                         ____________________
Wayne Eugene Sims
                                                         Hearing Date: ____________________
Bovier R. Sims
                                                         Judge:          _____________________
                                                                                  JNP

                                                         Chapter:        _____________________
                                                                                   13




                Recommended Local Form:            ”    Followed         ”     Modified




                                          ORDER VACATING STAY

         The relief set forth on the following page is hereby ORDERED.




          DATED: October 21, 2020
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       Upon the motion of __________________________________________________,
                                    American Honda Finane Corporation         under
Bankruptcy Code section 362(a) for relief from the automatic stay as to certain property as
hereinafter set forth, and for cause shown, it is

       IT IS HEREBY ORDERED that the automatic stay of Bankruptcy Code section 362 (a) is
vacated to permit the movant to pursue the movant's rights in the personal property described below to
the extent and in the manner provided by any applicable contract documents and nonbankruptcy law.

       ‘       Real property more fully described as:




       ‘       Personal property more fully described as:
                2016 Honda CRV
                Vehicle Identification Number
                2HKRM4H77GH639042

       It is further ORDERED that the movant may join the debtor and any trustee appointed in
this case as defendants in its action(s) irrespective of any conversion to any other chapter of the
Bankruptcy Code.


       The movant shall serve this order on the debtor, any trustee and any other party who
entered an appearance on the motion.




                                                                                           Rev. 7/1/04; jml




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